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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF PUERTO RICO

___________________________________
                                   )
JAMES S. WOLF and                  )
MARY-ANN WOLF,                     )
                    Petitioners,   )
                                   )
          v.                       )                  CIVIL ACTION
                                   )                  NO. 18-01422-WGY
ALTITUDE COSTA LLC                 )
and ALTITUDE WEST LLC,             )
jointly d/b/a ALTITUDE             )
TRAMPOLINE PARK; ALLAN S.          )
JONES; and LUKE D. JONES,          )
                                   )
                    Respondents.   )
___________________________________)


YOUNG, D.J. 1                                           November 14, 2018

                             MEMORANDUM & ORDER

I.   INTRODUCTION

     This case presents the novel question whether a federal

court has diversity jurisdiction over a limited liability

company (“LLC”) member’s suit against the LLC about the scope of

the member’s rights when the member also requests a declaratory

judgment that he is an LLC member.          This Court holds that an LLC

member cannot gin up jurisdiction by requesting such a

declaratory judgment where both the member and the LLC agree

that the member is, in fact, a member.          As a consequence,

pursuant to its order of September 24, 2018, ECF No. 15, this


     1    Of the District of Massachusetts, sitting by designation.
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Court dismisses this case for want of subject matter

jurisdiction.

     A.     Factual Allegations

     In summarizing the facts, this Court treats the petition’s

well-pleaded facts as true, draws all reasonable inferences in

the petitioners’ favor, and considers the petition’s exhibits,

but disregards the petition’s conclusory allegations.         See

United States ex rel. Duxbury v. Ortho Biotech Prods., L.P., 579

F.3d 13, 28 (1st Cir. 2009); Viqueira v. First Bank, 140 F.3d

12, 16 (1st Cir. 1998); Aversa v. United States, 99 F.3d 1200,

1210 (1st Cir. 1996).

     James S. Wolf (“Mr. Wolf”) is an Ohio-based investor in

various domestic and international businesses.       Pet. ¶ 1, ECF

No. 1.    In early 2015, Mr. Wolf, his brother-in-law Allan S.

Jones (“Mr. Jones”), and Luke D. Jones formed Altitude Costa,

LLC (“Costa”) in order to start a trampoline park business in

Puerto Rico.    Pet. ¶¶ 5-6, 11-14, 105.    That August, Mr. Wolf

executed a subscription agreement to purchase 20,750 Class A LLC

units in Costa.    Pet. ¶¶ 43-47 & Ex. I.

     Soon after making the investment, in spring 2016, Mr. Wolf

noticed “some irregularities” in Costa’s operations.        Pet. ¶ 64.

Costa also restricted Mr. Wolf’s access to its information.

Pet. ¶ 64.    Although Mr. Wolf received a distribution of Costa’s

profits for the fourth quarter of 2015 and the first quarter of


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2016, Mr. Wolf did not receive further distributions

notwithstanding his repeated requests.      See Pet. ¶¶ 58, 60, 69.

     Mr. Wolf’s attempts to help manage Costa appear to have

frustrated the two other founding LLC members.       In May 2016, Mr.

Jones emailed Mr. Wolf to demand that Mr. Wolf “act like a

normal investor” in Costa and its subsidiary, Altitude Costa

West, LLC (“West”).   Pet. ¶ 76.    Mr. Wolf alleges that that

summer one of Costa’s managers threatened him and prevented him

from accessing Costa property, at the Joneses’ behest.

Pet. ¶ 78.

     Mr. Wolf received an email on July 28, 2016 from Mr. Jones

stating that Mr. Wolf was “out of compliance” and that the

“agreement are [sic] rescinded.”     Pet. ¶ 83.    Mr. Wolf’s

attorney contacted Mr. Jones the next day and asserted that Mr.

Wolf was a member of Costa and demanded Costa pay Mr. Wolf owed

distributions.   Pet. ¶ 84.    Mr. Jones reaffirmed that he had

rescinded “the ‘proposed’ Subscription and Operating Agreement”

on July 30, 2016.   Pet. ¶ 85.    On August 1, 2016, Mr. Wolf’s

attorney responded to Mr. Jones that the Subscription Agreement

was fully signed -- and thus effective -- and again requested

Mr. Wolf’s distributions.     Pet. ¶ 86.   Although Mr. Wolf’s

attorney offered to discuss the dispute in his August 1

communication, the petition reveals no response from Costa or

the Joneses.   Pet. ¶ 86.   While the petition alleges that Mr.


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Wolf’s attorney and Mr. Wolf’s wife, Mary-Ann Wolf, followed up

with Costa and the Joneses, the petition does not describe any

response from them.

     Dissatisfied with Costa and the Joneses’ silence, Mr. Wolf

notified Costa, West, Mr. Jones, and Luke D. Jones

(collectively, the “Respondents”) on June 13, 2018 that he

intended to invoke the subscription agreement’s arbitration

clause to resolve the dispute.     Pet. ¶ 106.    With no response on

June 27, 2018, the Wolfs filed a petition to compel arbitration

in this Court.   Pet. ¶ 107.

     B.   Procedural History

     The Respondents opposed the petition on September 12, 2018.

Opp’n, ECF No. 12.    At a teleconference hearing on September 24,

2018, this Court sua sponte noted the potential absence of

subject matter jurisdiction because the pleadings did not reveal

the LLC members’ citizenships.     Min. Order, ECF No. 15.      It

therefore ordered Costa and West to supply the names and

addresses of their members.    Id.   Instead of providing this

information, however, the Respondents averred, on October 4,

2018, that Mr. Wolf is a member of Costa and asserted that an

LLC member cannot bring a diversity action against the LLC.

Mot. Resp. Order Docket No. 15 ¶ 3, ECF No. 16 (citing Liu v. 88

Harborview Realty, LLC, 5 F. Supp. 3d 443, 450-51 (S.D.N.Y.

2014)).


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      On October 4, 2018, this Court, observing that the

Respondents’ motion raised further jurisdictional concerns,

again ordered the Respondents to provide the LLC membership

lists.   Order, ECF No. 17.    The Respondents complied with the

Court’s new order that same day and stated, among other things,

that Mr. Wolf was a member of Costa, but not of West.          Mot.

Submitting LLC Membership Lists 1-2, ECF No. 19.         Subsequently,

on October 15, 2018, the Wolfs filed a motion in compliance with

this Court’s order in which they argued that Mr. Wolf’s

citizenship could not be attributed to Costa because Costa did

not recognize him as a member when Mr. Wolf filed his petition.

Mot. Compliance Ct. Order 4, ECF No. 22.

II.   ANALYSIS

      This Court lacks subject matter jurisdiction over this

petition to compel arbitration.      Section 4 of chapter 29 of the

United States Code permits a party to petition to enforce an

arbitration agreement in any district court that would have

subject matter jurisdiction over the underlying controversy that

the petitioner seeks arbitrated.      See Vaden v. Discover Bank,

556 U.S. 49, 62–63 (2009) (citing Moses H. Cone Mem’l Hosp. v.

Mercury Constr. Corp., 460 U.S. 1, 25 n.32 (1983)).         “The party

asserting jurisdiction has the burden of demonstrating the

existence of federal jurisdiction.”         Fabrica de Muebles J.J.

Alvarez, Incorporado v. Inversiones Mendoza, Inc., 682 F.3d 26,


                                      [5]
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32 (1st Cir. 2012) (citing Viqueira, 140 F.3d at 16).            Here, the

Wolfs present for arbitration state law claims for a declaratory

judgment and damages.       Pet. 24-25.    Accordingly, they identify

only one basis for this Court to have subject matter

jurisdiction: diversity of citizenship.         Pet. ¶ 9 (citing 28

U.S.C. § 1332(a)(1)).

     Section 1332(a)(1) provides that this Court “shall have

original jurisdiction over all civil actions where the matter in

controversy exceeds the sum or value of $75,000, exclusive of

interests and costs, and is between citizens of different

states.”    Where, as here, multiple plaintiffs sue multiple

defendants, “the presence of but one nondiverse party divests

the district court of original jurisdiction over the entire

action.”    See DCC Operating, Inc. v. Siaca (In re Olympic Mills

Corp.), 477 F.3d 1, 6 (1st Cir. 2007) (citing Strawbridge v.

Curtiss, 7 U.S. (3 Cranch) 267, 267 (1806)).          An LLC shares the

citizenship of all its members.        D.B. Zwirn Special

Opportunities Fund, L.P. v. Mehrotra, 661 F.3d 124, 125 (1st

Cir. 2011) (per curiam) (quoting Pramco, LLC ex rel. CFSC

Consortium, LLC v. San Juan Bay Marina, Inc., 435 F.3d 51, 54

(1st Cir. 2006)).      “Thus, in general, a plaintiff who is a

member of an LLC cannot bring a diversity action against the

LLC.”    Liu, 5 F. Supp. 3d at 450-51 (citing Keith v. Black

Diamond Advisors, Inc., 48 F. Supp. 2d 326, 330 (S.D.N.Y. 1999);


                                        [6]
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Skaaning v. Sorensen, CV. No. 09–00364 DAE–KSC, 2009 WL 3763056,

at *3 (D. Haw. Nov. 10, 2009)).

     Because the Wolfs and the Respondents agree that Mr. Wolf

is a member of Costa, this Court lacks diversity jurisdiction.

The Wolfs attempt to distinguish their case from the mine-run of

lawsuits lodged by LLC members against the LLC on the ground

that they seek a declaratory judgment from an arbitrator that

Mr. Wolf is in fact a member of Costa.      Mot. Compliance Ct.

Order 3.   They posit that any jurisdictional doubts are

misplaced, then, for federal courts “measure[] all challenges to

subject matter jurisdiction premised upon diversity of

citizenship against the state of facts that existed at the time

of filing.”   See Grupo Dataflux v. Atlas Glob. Grp., L.P., 541

U.S. 567, 571 (2004).    The Wolfs insist that, at the time of

filing, Mr. Wolf was not a member of Costa.       Mot. Compliance Ct.

Order 4.

     The Wolfs’ own petition, however, belies their position.

In multiple paragraphs, the petition alleges that Mr. Wolf was a

member of Costa.   See Pet. ¶¶ 24, 40, 47, 55, 56, 57, 67, 71,

98, 111.   In particular, the petition points out instances where

Mr. Jones allegedly told Mr. Wolf that he was not a member and

Mr. Wolf’s counsel corrected him.     Pet. ¶¶ 83-86.     Not only does

the petition allege that Mr. Wolf is a member, but also it

references an attached subscription agreement purporting to


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provide Mr. Wolf with membership rights in Costa, including the

right to arbitrate claims against the LLC.       Pet. Ex. I.

     The Wolfs attempt to analogize their plight to the

plaintiffs’ in Symes v. Harris, 472 F.3d 754 (10th Cir. 2006),

but their analogy is misplaced.     There, foreign nationals sued a

Colorado LLC and demanded a declaratory judgment deeming them

LLC members.    Id. at 757.   Because that remedy would have

defeated alienage jurisdiction, the district court ruled that it

lacked subject matter jurisdiction over the case.        Id. at 758.

The Tenth Circuit reversed, holding that the district court

erred by considering its jurisdiction after providing the

plaintiffs’ relief as opposed to its jurisdiction at the suit’s

onset.   Id. at 759.

     The Tenth Circuit’s reasoning in Symes accords with this

Court’s analysis here.    This Court does not lack jurisdiction

over this action because of the remedy that this Court or an

arbitrator might impose, but because the petition alleges that

Mr. Wolf is a member of Costa and Costa does not deny that

allegation.    Compare Pet. ¶ 1 & Ex. I with Mot. Submitting LLC

Membership Lists 1-2.    True, the petition avers that, in 2016,

Mr. Jones stated that the Subscription Agreement was rescinded.

Pet. ¶ 83.    But it also asserts that Mr. Wolf corrected

Mr. Jones and does not allege anything about Mr. Jones’s state

of mind at the time of filing.     Pet. ¶¶ 84-86.    What’s more,


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unlike the Symes plaintiffs, Mr. Wolf provided documentary

evidence of his LLC membership, asserts that he received

membership distributions from the LLC, and claims that the LLC

identified him as a member in emails.      Pet. Ex. I, ¶¶ 67, 71.

Considering that the Wolfs bear the burden of demonstrating

subject matter jurisdiction, these conflicting allegations are

not saved by the conclusory allegation that Mr. Wolf is not an

LLC member.   See Fabrica de Muebles, 682 F.3d at 32; Duxbury,

579 F.3d at 28.

     A contrary result would open the floodgates to federal

court for LLC members.    In any suit where a plaintiff LLC member

alleged that an otherwise diverse LLC failed to respect the

plaintiff’s rights, the plaintiff could add a declaratory

judgment count and request that the court confirm the

plaintiff’s membership.    Where an LLC member and the LLC dispute

the contours of the LLC member’s rights, those questions ought

not be decided in a federal forum.      See Ahmed v. Khanijow, No.

11-11887, 2011 WL 3566621, at *1 (E.D. Mich. Aug. 15, 2011)

(reasoning that diversity jurisdiction was absent because the

plaintiff “pleaded that he is a member of [the LLC], and the

Court, for this motion, accepts that allegation as true”).            In

contrast, where an LLC outright denies any membership

relationship with a plaintiff, those cases may be brought under




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alienage or diversity jurisdiction.      See Symes, 472 F.3d at 758.

As Justice Ginsburg observed in Vaden:

          Artful dodges by a [petitioner for arbitration]
     should not divert [courts] from recognizing the actual
     dimensions of that controversy. The text of [section
     4 of Chapter 29 of the United States Code] instructs
     federal courts to determine whether they would have
     jurisdiction over “a suit arising out of the
     controversy between the parties”; it does not give § 4
     petitioners license to recharacterize an existing
     controversy, or manufacture a new controversy, in an
     effort to obtain a federal court’s aid in compelling
     arbitration.

556 U.S. at 68.    Notwithstanding the Wolfs’ characterization,

this Court rules that the actual controversy here is not whether

Mr. Wolf is a member but whether Costa has fulfilled its

obligations to him in that capacity.        As such, this Court lacks

subject matter jurisdiction over the arbitration petition’s

underlying controversy and the petition itself.

III. CONCLUSION

     For the foregoing reasons, this Court dismisses the Wolfs’

petition to compel arbitration for want of subject matter

jurisdiction.

     SO ORDERED.

                                              /s/ William G. Young
                                              WILLIAM G. YOUNG
                                              DISTRICT JUDGE




                                     [10]
